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                     IN THE UNiTED STATES DISTRICT COuRT
                                                                        2009 MAR 25       Q: :22
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                     CLERJ
                                  AUGUSTA DIVISION                          SO. uS. F

UNITED STATES OF AMERICA    )
                            )
     V.                     )                         CR 108-168
                            )
CHRISTOPHER 010 VANI MECADO )



         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


       In the above-captioned criminal case, the government has accused Defendant of

conspiracy to distribute and possess with intent to distribute cocaine hydrochloride, cocaine

base, and marijuana in violation of 21 U.S.C. §S 841(a)(1) and 846. The matter is now

before the Court on Defendant's motion to suppress the drugs found at his residence on

January 6, 2009, the day of his arrest. (Doe. no. 157). The Court held an evidentiary hearing

on March 18, 2009, at which time the Court heard the testimony of Investigator Meekail

 Shaheed ("mv. Shaheed") of the Richmond County Sheriff's Office ("RCSO"). For the

reasons developed more fully herein, the Court REPORTS and RECOMMENDS that the

motion to suppress be DENIED.

                                        I. FACTS

       Inv. Shaheed is an investigator with the RSCO, and at the time of the incident in

question, he was assigned to the Drug Enforcement Administration Task Force. Defendant's

arrest was part of a "round-up" in the Augusta area, and on the morning of January 6, 2009,

mv. Shaheed met with other law enforcement officers at 6:30 a.m. to participate in an
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operations briefing. mv. Shaheed was made aware of the arrest warrant for Defendant and

personally observed it during the course of this briefing. However, no search warrant for

Defendant's residence had been issued. At 7:30 a.m., mv. Shaheed and a team of other

officers 1 proceeded to Defendant's residence at 2621 Castletown Drive in Hephzibah,

Georgia, to execute the arrest warrant. mv. Shaheed testified that Defendant's sister.

answered the door, and he informed her of the arrest warrant for Defendant and asked where

to find him. Defendant's sister informed mv. Shaheed that she believed Defendant was

asleep in his bedroom, and mv. Shaheed proceeded to the room indicated by Defendant's

sister. mv. Shaheed testified that immediately upon entering the bedroom, he observed

Defendant still sleeping and smelled the odor ofmarijuana. He also observed what appeared

to be cocaine in a clear plastic bag on the night stand next to the bed where Defendant was

sleeping and an open shoebox at the foot of the bed, which contained seven clear plastic bags

of what appeared to be marijuana. lnv, Shaheed testified that based on his training and

experience, he knew that the substances were cocaine and marijuana as soon as he saw them.

mv. Shaheed also observed a digital scale next to the open shoebox.

       mv. Shaheed testified that he awakened Defendant and informed him of the arrest

warrant. After giving Defendant the opportunity to get dressed, he handcuffed him and read

him his Miranda rights. 2 mv. Shaheed then led Defendant to the living room and remained



        'mv. Shaheed informed the Court that he was accompanied by Special Agent Ron
Griffin, FBI Task Force Officer Jason Vincent, RCSO Investigators Eric Williams and
Richard Cowell, and RCSO Deputies Billy Jones and Rick Chase. Deputy Rick Chase was
the canine handler on the scene.
       2
            Miranda v. Arizona, 384 U.S. 436 (1966).

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with him, as he had been informed by other officers that Defendant was a potential flight

risk. While in the living room, mv. Shaheed observed a second digital scale on the living

room table, and Defendant told him that the scale and that "everything they found" would

be his; his family knew nothing about his activities, Upon receiving this information, mv.

Shaheed instructed a fellow officer to go back into the bedroom and seize the plastic bags

of cocaine and marijuana that he had observed in plain view. Before the drugs were seized,

however, the drug dog handled by Deputy Rick Chase gave a positive alert to the items on

the night stand and in the shoebox. Investigator Richard Cowell recovered and field-tested

the substances at Defendant's residence, and the tests came back positive for cocaine and

marijuana. 3 According to mv. Shaheed, only "a couple ofminutes" elapsed between the time

he entered the residence and the time Defendant was secured in the living room.

                                     II. DISCUSSION

       Here, Defendant has argued that the drugs and other evidence recovered should be

suppressed as exceeding the scope of a search incident to arrest. Specifically, Defendant

contends that the officers recovered the drugs during an impermissible protective sweep of

his residence. (Doc. no. 247, p. 3) (citing Maryland v. Buie, 494 U.S. 325 (1990)). Buie

authorizes two types of protective sweeps as searches incident to arrest. The first type allows

officers to look in closets or spaces immediately adjoining the place of arrest "as a

precautionary matter and without probable cause or reasonable suspicion."            494 U.S.

at 334. A more pervasive search may be undertaken where there are "articulable facts which,



       3Inv. Shalieed testified that approximately fifteen grams of cocaine and one pound of
marijuana were recovered.

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taken together with the rational inferences from those facts, would warrant a reasonably

prudent officer in believing that the area to be swept harbors an individual posing a danger

to those on the arrest scene." Id.

        As noted above, mv. Shaheed testified that he observed the drugs in clear plastic bags

on the night stand and in the shoebox at the foot of the bed, as well as the first digital scale,

as soon as he entered Defendant's bedroom. Defendant was then awakened and placed under

arrest. While mv. Shaheed was securing Defendant in the living room, he saw a second

digital scale on top of the living room table. Not surprisingly, Defendant presents a different

chain of events in the affidavit supporting his motion, contending that the drugs were seized

outside the scope of a search incident to arrest when his room was searched and the drug dog

at the scene gave a positive alert. (Doe. no. 158, p. 2). Thus, whether the drugs were seized

during a protective sweep is a question of credibility. Defendant did not testify at the

evidentiary hearing, and the statements made in the affidavit were not subject to cross-

examination. Thus, the only testimony the Court has before it is mv. Shaheed's statements

that the items seized were readily visible during the course of Defendant's arrest. It is

undisputed that mv. Shaheed was legitimately in a position to view the drugs and other items

seized as one of the arresting officers. Moreover, mv. Shaheed explained that the drug dog

was brought in to verify the presence of drugs and only alerted after mv. Shaheed had

observed the items in plain view. Thus, the Court credits mv. Shaheed's testimony that the

drugs were not observed during any sort of protective sweep. Accordingly, Defendant's

argument regarding a search incident to arrest is without merit, and the Court proceeds to

consider the government's argument that the drugs were lawfully seized in plain view.


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        The Supreme Court has set forth specific criteria concerning the warrantless seizure

of incriminating evidence found in plain view. First, the officer seizing the evidence must

not have violated the Fourth Amendment in arriving at the position from which the evidence

can be plainly viewed. Horton v. California, 496 U.S. 128, 136 (1990). In addition, the

incriminating nature of the item must be "immediately apparent," and the police must have

a lawful right of access to the object. jçj at 136-37. Of particular note in this case, the

Eleventh Circuit has further explained that "if police see contraband in plain view while

inside a home executing an arrest warrant, . . . they may seize it as evidence of a crime."

United States v. McGough, 412 F.3d 1232, 1237 (11th Cir. 2005); see also United States v.

Hromada, 49 F.3d 685, 690 (11th Cir. 1995) ("If an officer has lawfully executed a valid

arrest warrant, he is not required to shut his eyes to contraband in plain view in order to

accommodate the arrestee' s desire to avoid further charges.")

       Here, there can be no doubt that mv. Shaheed arrived at the position where he

observed the drugs and digital scales in a lawful manner. A valid arrest warrant had been

issued for Defendant, and mv. Shaheed personally observed and confirmed the validity of

the arrest warrant on the morning of the arrest. 4 Moreover, the drugs were observed by mv.

Shaheed as soon as he entered Defendant's bedroom to execute the arrest warrant. In

addition, while mv. Shaheed did not recover the drugs and other items, they were recovered

by a member of the team executing the arrest warrant for Defendant, namely Investigator

Richard Cowell. As the arrest warrant for Defendant was valid and Investigator Cowell was



       4Defendant does not contest that a warrant for his arrest had been issued, even though
Tnv. Shaheed did not have the arrest warrant with him on the day in question

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on the team executing that warrant, there can be no doubt that he had a lawful right of access

to the items seized.

       Finally, mv. Shaheed's testimony reveals that the incriminating nature of the items

seized was immediately apparent. Upon entering the bedroom, mv. Shaheed was tipped off

to the possible presence of drugs when he smelled the odor of marijuana. He then

immediately observed a white powdery substance in a clear plastic bag on the night stand

next to Defendant's bed, as well as an open shoebox at the foot of the bed that contained

several clear plastic bags of what looked like marijuana. Based on his training and

experience, mv. Shaheed knew that the clear plastic bags contained cocaine and marijuana.

In particular, the Court notes that the items were not found in any closed compartments or

drawers. Trw. Shaheed testified specificall.y that the bag containing the cocaine was on top

of the night stand and that the shoebox in which the plastic bags ofmarijuana were observed

was open and did not have a lid. Both substances were observed in            plastic bags. In

addition, the digital scale in the bedroom was observed next to the open shoebox, and the

digital scale from the living room was sitting on top of the living room table.        United

States v. Watchmaker, 761 F.2d 1459, 1472-73 (11th Cir. 1985). Stated otherwise, therewas

nothing obscuring the drugs or the scales from view, and it is clear that the incriminating

nature of the items seized was immediately apparent to mv. Shaheed at the time he entered

Defendant's bedroom and when he secured Defendant in the living room. Accordingly, the

Court finds that the items seized were recognized in plain view pursuant to a valid warrant

for Defendant's arrest.
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                                   IlL CONCLUSION

       In conclusion, the Court finds that the drugs and digital scales were not seized during

any search incident to Defendant's an-est. Rather, the record reflects that they were lawfully

seized in plain view during Defendant's arrest. Therefore, the Court REPORTS and

RECOMMENDS that the motion to suppress be DENIED. (Doe. no. 157).

       SO REPORTED and RECOMMENDED this                       ay of March, 2009, at Augusta,

Georgia.




                                              W. LEON B *FIELD / J
                                              UNITED STATES MAdSTRATE JUDGE




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